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                                                                      1   COHEN JOHNSON PARKER EDWARDS
                                                                          H. STAN JOHNSON, ESQ.
                                                                      2   Nevada Bar No.: 00265
                                                                          sjohnson@cohenjohnson.com
                                                                      3
                                                                          RYAN D. JOHNSON, ESQ.
                                                                      4   Nevada Bar No.: 14724
                                                                          375 E. Warm Springs Rd. Ste 104
                                                                      5   Las Vegas, NV 89119
                                                                          Telephone: (702) 823-3500
                                                                      6   Facsimile: (702) 823-3400
                                                                      7
                                                                          Attorneys for Expeditors International of Washington, Inc.
                                                                      8

                                                                      9                              UNITED STATES BANKRUPTCY COURT
                                                                     10                                    FOR THE DISTRICT OF NEVADA
COHEN JOHNSON PARKER EDWARDS




                                                                     11   In re
                                                                                                                                       Case No.: BK-S-18-14683-LEB
                                                                     12   GUMP’s HOLDINGS, LLC et al.                                            Chapter 11
                               375 E. WARM SPRINGS RD., Ste. 104




                                                                     13
                                (702) 823-3500 FAX: (702) 823-3400




                                                                                                 Debtors                                 Jointly Administered with:
                                      Las Vegas, Nevada 89119




                                                                     14
                                                                                                                                  No.: BK-S-14684 (In re Gum’s Corp.)
                                                                     15                                                       No.: BK-S-14685 (In re Gump’s By Mail, Inc.)

                                                                     16                                                       Hearing Date: OST Pending
                                                                                                                              Hearing Time: OST Pending
                                                                     17
                                                                                 Affects this Debtor
                                                                     18          Affects all Debtors
                                                                                 Affects Gump’s Corp.
                                                                     19          Affects Gump’s By Mail, Inc.
                                                                     20    EX PARTE APPLICATION FOR ORDER SHORTENING TIME TO HEAR MOTION
                                                                     21     BY EXPEDITORS INTERNATIONAL OF WASHINGTON, INC. FOR ADEQUATE
                                                                                 PROTECTION AND FOR RELIEF FROM THE AUTOMATIC STAY
                                                                     22

                                                                     23            COMES NOW, Creditor Expeditors International of Washington, Inc., by and through their

                                                                     24   counsel of record, Cohen Johnson Parker Edwards, and hereby submits this ex parte application
                                                                     25   (the “Application”) seeking entry of an order shortening time, substantially in form attached hereto
                                                                     26
                                                                          as Exhibit 1, to hear the Motion by Expeditors International of Washington, Inc. for Adequate
                                                                     27
                                                                          Protection and For Relief from the Automatic Stay on an Order Shortening Time (the “Expeditors
                                                                     28
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                                                                      1   Motion”). The moving creditor requests that this matter be heard on an order shortening time at

                                                                      2   the court’s earliest convenience.
                                                                      3
                                                                                 This Application for order shortening time to hear the Expeditors Motion is made and based
                                                                      4
                                                                          upon Bankruptcy Rule 9006, the following Memorandum of Points and Authorities, the
                                                                      5
                                                                          declaration of H. Stan Johnson set forth below, the Attorney Information Sheet filed
                                                                      6
                                                                          contemporaneously herewith, and the papers and pleading on file herein, judicial notice of which
                                                                      7

                                                                      8   is respectfully requested.

                                                                      9
                                                                                                 DECLARATION OF H. STAN JOHNSON, ESQ.
                                                                     10
COHEN JOHNSON PARKER EDWARDS




                                                                     11          I, H. STAN JOHNSON, being first duly sworn, hereby state under the penalty of perjury
                                                                     12   under the laws of the State of Nevada and the United States of America, as follows:
                               375 E. WARM SPRINGS RD., Ste. 104




                                                                     13
                                (702) 823-3500 FAX: (702) 823-3400




                                                                                     1. I am over the age of 18 and am mentally competent and licensed to practice law in
                                      Las Vegas, Nevada 89119




                                                                     14
                                                                          the State of Nevada.
                                                                     15
                                                                                     2. I am an attorney with the law firm of Cohen Johnson Parker Edwards, counsel for
                                                                     16

                                                                     17   Expeditors International of Washington, Inc., and therefore have personal knowledge of the facts

                                                                     18   set forth in this Declaration unless I state that such knowledge is upon information and belief and

                                                                     19   I am informed of those facts and believe them to be true. If called upon to testify as to the
                                                                     20   matters herein, I could and would do so.
                                                                     21
                                                                                     3. Expeditors International of Washington, Inc., for itself and its subsidiaries and
                                                                     22
                                                                          affiliates (collectively, “Expeditors”), is a secured creditor of debtor-in-possession Gump’s by
                                                                     23
                                                                          Mail, Inc. Expeditors holds possessory liens on goods (the “Petition Date Cargo”) having a
                                                                     24

                                                                     25   commercial invoice value of approximately $174,000.00.

                                                                     26              4. On information and belief, the value of Expeditors’ interests in the Petition Date

                                                                     27   Cargo are declining, because secured charges continue to accrue on the Petition Date Cargo for
                                                                     28
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                                                                      1   demurrage, detention, storage, and other delay-related costs. Therefore, it is essential that the

                                                                      2   Court consider the relief requested by Expeditors quickly to mitigate potential loss and expense
                                                                      3
                                                                          to Expeditors.
                                                                      4
                                                                                     5. Thus, good cause exists to hear the Motion on shortened time and the movant
                                                                      5
                                                                          requests that the Court set the hearing on the Motion as soon as is convenient for the Court.
                                                                      6

                                                                      7

                                                                      8      Dated this 6th day of September 2018.

                                                                      9                                              By: /s/ H. Stan Johnson_____________
                                                                                                                         H. STAN JOHNSON, ESQ.
                                                                     10
COHEN JOHNSON PARKER EDWARDS




                                                                     11                                                  II.
                                                                                                                  LEGAL ARGUMENT
                                                                     12
                               375 E. WARM SPRINGS RD., Ste. 104




                                                                     13      Section 105 allows this Court to issue such orders as are necessary to carry out the provisions
                                (702) 823-3500 FAX: (702) 823-3400
                                      Las Vegas, Nevada 89119




                                                                     14   of this title. See 11 U.S.C. § 105. Bankruptcy Rule 9006(c)(1) generally permits a bankruptcy
                                                                     15
                                                                          court, for cause shown and in its discretion, to reduce the period during which any notice is given
                                                                     16
                                                                          in accordance with the Bankruptcy Rules. In particular, Bankruptcy Rule 9006(c)(1) provides as
                                                                     17
                                                                          follows:
                                                                     18

                                                                     19                    [e]xcept as provided in paragraph (2) of this subdivision, when an act is
                                                                                           required or allowed to be done at or within a specified time by these rules
                                                                     20                    or by a notice given thereunder or by order of court, the court for cause
                                                                                           shown may in its discretion with or without motion or notice order the
                                                                     21                    period reduced.
                                                                     22   FED. R. BANKR. P. 9006(c)(1).
                                                                     23
                                                                                 Local Rule 9006 provides further authority for shortening the time for a hearing.
                                                                     24
                                                                          According to Local Rule 9006(b), every motion for an order shortening time must be
                                                                     25
                                                                          accompanied by an affidavit stating the reasons for an expedited hearing. As set forth in the H.
                                                                     26
                                                                     27   Stan Johnson Declaration, there are compelling reasons for an expedited hearing on the

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                                                                      1   Expeditors Motion. As such, good cause exists to hear the Expeditors Motion on shortened time

                                                                      2   at the Court’s Earliest Convenience.
                                                                      3
                                                                                    Local Rule 9006 also requires the moving party to submit an Attorney Information Sheet
                                                                      4
                                                                          indicating whether opposing counsel was provided with notice, whether opposing counsel
                                                                      5
                                                                          consented to the hearing on an order shortening time, the date counsel was provided with notice,
                                                                      6
                                                                          and how notice was provided or attempted to be provided. An Attorney Information Sheet was
                                                                      7

                                                                      8   filed contemporaneously with this Application.

                                                                      9                                                III.
                                                                                                                    CONCLUSION
                                                                     10
                                                                                    WHEREFORE, Expeditors respectfully request that the Court grant this Ex Parte
COHEN JOHNSON PARKER EDWARDS




                                                                     11

                                                                     12   Application and issue an order shortening time to hear the Expeditors Motion at the Court’s
                               375 E. WARM SPRINGS RD., Ste. 104




                                                                     13
                                (702) 823-3500 FAX: (702) 823-3400




                                                                          earliest convenience. Debtors request such other and further relief as the Court deems just and
                                      Las Vegas, Nevada 89119




                                                                     14
                                                                          proper.
                                                                     15
                                                                                    DATED this 6th day of September 2018.
                                                                     16
                                                                                                                               COHEN JOHNSON PARKER EDWARDS
                                                                     17

                                                                     18                                                        By: /s/ H. Stan Johnson__________

                                                                     19                                                        H. STAN JOHNSON, ESQ.
                                                                                                                               Nevada Bar No. 00265
                                                                     20                                                        RYAN D. JOHNSON, ESQ.
                                                                     21                                                        Nevada Bar No. 14724
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                                                                     23                                                        Attorneys for Creditor Expeditors
                                                                                                                               International of Washington, Inc.
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